                                                             17-10315Mtn2004Exam




                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

In re:        Deborah L. Tymann                           ) Case No. 17-10315
                                                          ) Chapter 13 Proceedings
                   Debtor                                 ) Judge Arthur I. Harris

                    CHAPTER 13 TRUSTEE’S MOTION FOR EXAMINATION
                         PURSUANT TO BANKRUPTCY RULE 2004

        Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing Chapter 13
Trustee ("Trustee") herein, and hereby moves this Honorable Court to issue an Order requiring Deborah L.
Tymann to appear for examination pursuant to Bankruptcy Rule 2004. In support of her motion, the Trustee
makes the following representations to the Court:

         1.        On or about February 8, 2018, the Trustee sent correspondence to the Debtor and their
                   counsel of record reminding them of the Debtors annual responsibility to provide certain
                   documents to the Trustee.

         2.        As of this date, the Trustee has not received one or more of the following items:

                            a. 2017 federal tax return for Debtor (and spouse, if married);
                            b. Any and all schedules filed with the return including, but not limited to,
                               Schedule A for itemized deductions, Schedule C for business income or loss
                               and Schedule E for rental real estate and special entities;
                            c. Completed and signed Declaration of Income form;
                            d. Any and all W-2 and 1099 income statements used to prepare the return;

         3.        The Debtors are requested to bring to this exam:

               •   Copy of any of the above-listed items that have not already been provided to the Trustee;
               •   Copy of Schedules I and J that reflects Debtor’s current financial situation for income and
                   expenses;
               •   Copy of pay advices for the months of April and May 2018 if Debtor is employed;

        WHEREFORE, your Trustee, being a proper party in interest, moves this Honorable Court to grant
this motion and order Deborah L. Tymann to appear on Wednesday, July 25, 2018 at 1:00 P.M. for
examination for the reasons cited and to supply the documents requested.



                                                      /s/ Lauren A. Helbling
                                                      LAUREN A. HELBLING (#0038934)
                                                      Chapter 13 Trustee
                                                      200 Public Square, Suite 3860
                                                      Cleveland OH 44114-2321
                                                      Phone (216) 621-4268       Fax (216) 621-4806
                                                      Ch13trustee@ch13cleve.com




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                                      CERTIFICATE OF SERVICE

I certify that on June 20, 2018, a true and correct copy of this Motion was served:

Via the Court's Electronic Case Filing System on these entities and individuals who are listed on the Court's
Electronic Mail Notice List:

        William J Balena, on behalf of Deborah L. Tymann, Debtor
                at Docket@Ohbksource.Com

And by regular U.S. mail, postage prepaid, on:

        Deborah L. Tymann, Debtor, at 2885 Pease Drive, Apt. 325, Rocky River, OH 44116




                                                     /s/ Lauren A. Helbling
                                                     LAUREN A. HELBLING (#0038934)
                                                     Chapter 13 Trustee
                                                     200 Public Square, Suite 3860
                                                     Cleveland OH 44114-2321
                                                     (216) 621-4268




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